
In an action by plaintiff husband for specific performance of an oral contract and to compel defendant — his wife — to convey to him certain real property which he purchased in 1936, taking title in defendant’s name, judgment was entered dismissing the complaint. Judgment reversed on the facts, with costs, and judgment directed for plaintiff for the relief demanded in the complaint, with costs. Findings of fact and conclusions of law inconsistent herewith, are reversed and new findings and conclusions will be made. In our opinion the finding that the property was a gift from plaintiff to defendant is against the weight of the credible evidence. Settle order on notice. Lewis, P. J., Hagarty, Johnston, Adel and Aldrich, JJ.,' concur.
